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                                        #:1284


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6
                              UNITED STATES DISTRICT COURT
7
                      FOR THE CENTRAL DISTRICT OF CALIFORNIA
8
     UNITED STATES OF AMERICA,                No. 2:24-CR-00091-ODW
9
                Plaintiff,                    [PROPOSED] ORDER GRANTING
10                                            STIPULATION TO MODIFY BRIEFING
                     v.                       SCHEDULE
11
     ALEXANDER SMIRNOV,
12
                Defendant.
13

14
          The Court has read and considered the Stipulation to Modify
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     Briefing Schedule filed by the parties on August 5, 2024.            The Court
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     hereby finds that the Stipulation, which this Court incorporates by
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     reference into this Order, demonstrates facts that support a
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     modification of the briefing schedule provided for in Dkt 64, and
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     therefore the Court finds good cause.
20
          THEREFORE, FOR GOOD CAUSE SHOWN:
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          The briefing schedule in Dkt 64 is modified as follows:
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          i.    Defendant’s CIPA Section 5 notice is due no later than:
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     Two weeks after the government provides Defendant’s counsel access to
24
     the classified information discovery;
25
          ii.   Government’s Objections to Defendant’s CIPA Section 5 &
26
     government’s CIPA Section 6(a) filing is due no later than:            Three
27
     weeks after Defendant’s CIPA Section 5 notice.
28
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1         iii. Defendant’s Reply in CIPA Section 5 and Response to

2    government’s CIPA Section 6(a) is due no later than:          Two weeks after

3    government’s CIPA Section 6 filing.

4         The remaining briefing schedule in Dkt 64 is not impacted by

5    this Order.

6         IT IS SO ORDERED.

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8
      DATE                                    HONORABLE OTIS D. WRIGHT II
9                                             UNITED STATES DISTRICT JUDGE
10

11

12   Presented by:
13       /s/ Richard A. Schonfeld
     RICHARD A. SCHONFELD, ESQ.
14   Counsel for Defendant
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